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                                                                                                          Fited. 718!2015 6:5.7:06 PM
                                                                                                                  Patricia Henderson
                                                                                                                         District Clerk
                                                                                                                Taylor County, Texas
                                                                                                           Kathy Conway

                                                   CAUSE No.1 0500-D

  ERIN REYNOLDS A.KA. ERIN                            §     IN THE DISTRICT COURT
  THETFORD, Il\'DIVIDUALLY and AS                     §
  REPRESENTAl"\'TITIVE OF THE                         §
  ESTATE OF JVIARY KNIGHT, Al~D                       §
  AS REPRESEl\'TAl\1ITIVE OF THE                      §
  ESTATE OF HAGEN THETFORD,                           §
  Plaintiff                                           §
                                                      §
                                                      §    Taylcr ::.5oth District Court

  v.                                                  §              JUDICIAL DISTRICT
                                                      §
  CAROLINA CARGO, INC. OF ROCK                        §
  HILL~                                               §
  Defendants                                          §     TA1:7J..ORCOUNTY, TEXAB

                                         PLAINTIFF'S ORIGINAL PETITION

       TO THE HONORABLE JUDGE OF SAID COURT:

                 NOV/ COillS Plaintiff, ERIN REYNOLDS A.KA. ER.IN" THETFORD,

       INDIVIDUALLY and AS REPRESENT.ANTITIVE OF THE ESTATE OF MARY

       KNIGHT, AND AS REPRESENTANTITIVE OF THE ESTATE OF HAGEN

       THETFORD, complaining of and against CAROLINA CARGO, INC. OF ROCK HILL,

       hereinafter Defendant, and files Plaintiffs Original Petition and for cause of action '.vould

       show the Court as follO\vs:

                                              I. DISCOVERY LEVEL

                 Pursuant to TEXA.S RULE OF CIVIL PROCEDURE 190.1, Plaintiff intends to conduct

       discovery in this ca<.>e under Level 3 as proscribed by TEXA.S RULE OF CIVIL PROCEDURE

       190.4. An agreed scheduling order has already been entered in this matter.

                                    II. PARTIES & SERVICE OF CITATION

                 Plaiutift: ERil'.f REYNOLDS A.K.A ERIN" THETFORD, INDI\•1DUALLY and

       AS REPRESEN1ANTITDlE OF THE ESTATE OF 1V1ARY KNIGHT, AND AS

                                                                 True and correct
       Plaintiff'.'> Original Petition                                 Of original               Page   1 of7
                                                                      in the Taylor
                                                                          District Clerks Office
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    REPRESENTANTITTVE OF THE ESTATE OF HAGEN THETFORD, is a natural person

    and was a resident of Limestone County, Texas, at the time of the events made the basis

    oftbis suiL

              M.A..RY KNIGHT '\Vas a 51 year old resident of Big Spring, Texas, at the time of

    the collision in question ru1d her death_ MARY KNIGHT died intestate on June 30, 2015,

    sunrived by her daughter, ERIN REYNOLDS_ :NiARY KNIGHT has no other surviving

    spouse or children or other issue_ ER.IN" REl:"'NOLDS is the sole statutory beneficiary

    tmder the Texas \Vrongful Death Statute, §§ 71.001, et seq., Tex. Civ_ Prac & Rem_

    Code, and is entitled to maintain individual claints thereunder. ERTI"T REYNOLDS, as the

    sole heir at la\v of ).·1ARY KNIGHT, deceased, is entitled to maintain an action pursuant

    to the Texas Surrival Statute, §§ 71.021, et seq_, Tex_ Civ_ Prac & Rem. Code. ERIN

    REYNOLDS, individually, brings suit herein under the Texas \Vrongful Death Statute,

    and brings suit as an heir on behalf of the Estate of MARY KNIGHT, deceased, under the

    Texas Survival Statute.

              HAGEN THETFORD \Vas a 12 year old minor resident of Big Spring, Texas, at

    the time of the collision in question and his death. HAGEN THETFORD died intestate

    on June 30, 2015, survived by his mother, ER.IN' REYNOLDS and his father TJ Thetford.

    HAGEN THETFORD has no other surviving spouse or children or other issue_ ER.IN'

    REYNOLDS is a stah.ttory beneficiary under the Texas \Vrongfhl Death Stah.tte, §§

    7L001, et seq., Tex. Civ_ Prac & Rem. Code> and is entitled to maintain individual

    daims thereunder. ER.IN" REYNOLDS, as ru1 heir at law of HAGEN THETFORD,

    deceased, is entitled to maintain an action pursuant to the Texas Survival Stah.lte, §§

    7L021, et seq., Tex_ Civ. Prac. & Rem_ Code. ERIN REYNOLDS, individually, bring,'>




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    suit herein under the Texas \Vrongful Death Statute, and brings suit as an heir on behalf

    ofthe Estate ofHAGENTHE1FORD, deceased, under the Texas Su:rvi·val Stamte.

              Defendant, CAROLINA CARGO, IN"C. OF ROCK HILL, is a               foreig~1   corporation

    doing bu'>iness in the State of Texas.        Service of process may be obtained on this

    Defendant hy serving .its registered agent, April Sloan at 102 Davis Street, Behnont,

    North Carolina, 28012 by private process server.

                          III. JlJRISDICTION Al~D i\:IAXIMUM DAl'viAGES

              Jurisdiction is proper in this Court because Plaintiff is entitled to damages in

    excess of the minimun.1 jurisdiction of this Court

              At the time of filing this la\vsuit, Plaintiff seeks monetary relief over

    $1,000,000.00 and for judgment for all the other relief to \Vhich the party may be justly

    entitled in accord.:mce \vith TRCP paragraph (c) (5) ofR. 47.

                                              IV. VENUE

              Pursuant to Section 15.002(A)(2) of the TE..X. •'\..S CIVIL PR...1\.CTICE & RE1·1EDIES

    CODE, venue is proper in Taylor County because it is the county of a defendant's

    residence at the time the cause of action accmed.

                                     V. FACTl.Lli BACKGROUND

             Plaintiff: ERIN REYNOLDS, INDIVIDUALLY, AS REPRESEN1Al'ITITIVE OF

    THE ESTATE OF MARY KNIGHT, AJ\'D AS REPRESENTAl'\fTITIVE OF THE

    ESTATE OF HAGEN, brings this suit to recover damages for personal injuries and death

    sustained as a result of a collision at or around 4:50 a.m. in Merkel, Taylor County,

    Texas, on or about June 30, 2015.           Said collision was proximately caused by the

    negligence of Defendant.




    Plaintiff';; Original Petition                                                          Page 3 of7
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             Doyle :Knight \Vas operating a motor vehicle \Vith passengers Mark Knight, Dre\v

    Reynolds and Hagen Thetford while tt·aveling in the eastbound la.ne on Interstate 20 near

    :l\1erkel, Taylor County, Texas. At the same time, the operator of the vehicle ovmed,

    operated, controlled, and/or managed by CAROLrnA CARGO, IN'C. OF ROCK HILL,

    \Vas traveling in the \Vestbound lane on Interstate 20. Suddenly and \Vithout warning the

    tractor-trailer operated by Defenda11t lost control and \Vent through the center median and

    stmck head on the vehicle in \Vhich Mary Knight and Hagen Thetford were passengers.

    As a result of this collision all four passengers of:tvk Knight's vehicle \Vere killed.

             At the time of the occasion in question, Doyle Knight \\'as operating a motor

    vehicle, and at all times material to this incident exercising ordinary care for his safety as

    well as the safety of his passengers .

              As a result of this collision, 1\1ARY KNIGHT and HAGEN THETFORD

    sustained significant personal injmies and death.

                                    VI. RESPONDEAT SUPERIOR

             At all times material hereto, all agents, servants, and/or employees of Defendants,

    CAROLINA CARGO, IN'C. OF ROCK HILL. were acting within the course and scope of

    emplo;1nent and/or official duties.

             Furthennore, at all times material hereto, all agents, servants, and/or employees of

    Defendant, CAROLINA CARGO, IN'C. OF ROCK HILL, \vas acting in fmtherance of the

    duties of their office and/or employment, and for the financial benefit of CAROLINA

    CARGO, INC. OF ROCK HILL, as defined by §3905 of the Federal 'Motor Carrier

    Safety Regulations, incorporated into Texas law by Chapter 37, Rule 3.62(a) ofthe Texas

    Administrative Code.




    Plaintiff's Original Petition                                                       Page 4 of7
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              Therefore, Defendant, CAROLI!"\A CARGO, IN"C. OF ROCK HILL are

    responsible ±or all damages resulting from the negligent acts and/or omissions of their

    agents, servants, and/or employees, including, pursuant to the Doctrine of Respondeat

    Superior.

               VII. NEGLIGENCE - CAROLINA CARGO, 11'\C.. OF ROCK HILL

              Plainti±T further alleges that, upon the occasion in question, Defendant,

    CAROLINA CARGO, INC. OF ROCK HILL failed to use ordinary care in operating a

    vehicle in at least one or more of the follmving ·ways:

                   a) Operating a motor vehicle \Vhile not physically fit to do so;

                  b) Operating a motor vehicle vvithout adequate rest and/or sleep;

                   c) Failing to properly inspect the vehicle before operating said vehicle on a
                      public roadway~

                  d) Failing to properly maintain the vehicle;

                  e) Failing to drive at a safe speed;

                  f) Failing to keep a proper lookout;

                  g) Failing to use dne   caution~


                  h) Failing to make a timely application of the brakes;

                  i)   Failing to use the hom to vvam other drivers;

                  j)   Failing to obey traffic signs regulating the movement oftraffic;

                  k) Failing to safely stop; and

                  1)   Striking Plaintiffs ·vehicle \Vhich resulted in a collision causing injuries
                       and death.

                  m) Failing to drive at a speed that 'was reasonable and pmdent;

                  n) Driving with defective equipment;




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                  o) Operating a vehicle that \Vas unsafe so as to endanger a person;

                  p) Failing to keep a proper lookout;

                  q) Failing to pay adequate attention;

                  r) Failing to use due   caution~   and

                  s) Engaging in actions or inactions that caused another vehicle to strike his
                     vehicle, causing serious personal injuries and death.


             Each and all of the above stated acts andfor omissions conr;titute negligence and

    the same are a direct and proximate cause of the damages sustained by Plaintiff.

                                            VIII. DAl\'IAGES

             Plaintiff \Vould show that, as a direct and proximate result of the abm'e-mentioned

    collision, Plaintiff has suffered injuries, damages and death. Plaintiff, as Representative of

    the EstateS of 1'viARY :K}..TIGHT and HAGEN THETFORD , Deceased, has experienced

    damages including, but not limited to the follo\:v·ing:

             a. Pain and suffering of MARY Kl'ITGHT;

             b. Pain and suffering of:H..I\GEN THETFORD;

             c. Mental Anguish of MARY KNIGHT;

             d. 3/Iental Anguish of HAGEN THETFORD;

             e. Funeral and Burial Expenses of MARY KNIGHT;

             f    Funeral and Burial Expenses of HAGEN THETFORD.

             Plaintiff, ERIN REYNOLDS, Individually, lu'ts experienced d..'Unages including, but

    not linlited to the follmving:

             a. Past and Fuhire Mental Anguish;

             b. Past and Future Loss of Companionship and Society;




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              c. Past and Future Loss of Household Services; and

              d. Reimbursement of Funeral and Burial Expenses.

                                     IX. PRA \'ER FOR RELIEF

             \\tHEREFORE, Plaintiff requests that Defendants be cited to appear at a trial to

    and that on fmal hearing Plaintiff have judgment against Defendant for an amount within

    the jmisdictional limits of this Court together \Vith pre-judgment and post-judg.ment

    interest as provided by la\\\ costs of court and for such other and further relief, at la\V or

    in equity to \Vhich Plaintiff is justly entitled.




                                                              Respectfully Submitted,

                                                              THE CARLSON LA\V FIRt\1, P.C.
                                                              11606 N. lli-35
                                                              Killeen, Texas 78753
                                                              (254) 526-5688
                                                              FAX (254) 526-8204


                                                        By:   ~/s/ ..S.fott
                                                                         R . .Qr_i_y_d.li
                                                              Craig W. Carlson
                                                              SBN: 00792039
                                                              Scott R Crivelli
                                                              SBN: 24081713
                                                              scrivelli@carlsonattomeys.com




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